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                                             THE LAW OFFICES OF

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                                                           May 6, 2020

      VIA ECF FILING
      The Honorable Vernon S. Broderick
      United States District Court Judge
      United States District Court for the
      Southern District of New York

             Re:     Stanise v. Loria, 20-CV-2769 (VSB)
                     Letter to the Court re: Briefing Schedule
      Your Honor:

             Counsel for Plaintiff John Stanise (“Stanise”) writes in response to The Court’s Order of
      May 5, 2020 (Doc. 14). Counsel for the Plaintiff and Defendant, the (“Parties”) have met and
      conferred and cannot agree on a briefing schedule. Rather, the Parties’ positions are as follows:

             Defendant, who have moved by Notice of Motion seeking a Temporary Restraining
      Order and Preliminary Injunctive Relief noticed the motion providing 14 days for Plaintiff to
      serve opposition and for the Defendants to have 7 days to reply. We have asked the Defendants
      to submit to this briefing schedule, however they will not consent and rather have proposed that
      we be required to submit opposition to their temporary relief by Friday, May 8, 2020 and that
      your Honor’s order called for oral arguments on that date.

             We are asking that the Court order the parties to abide by the notice dates within the
      motion papers, and proposed as follows:

             1) Stanise shall file his opposition papers, if any, to (a) Loria’s Motion to Transfer
                Venue and (b) Loria’s Motion for Temporary Restraints and a Preliminary Injunction
                and (c) Stanise’s Cross-Motion for Temporary Restraints and a Preliminary Order by
                May 19, 2020;

             2) Loria shall file his reply papers, if any, to Stanise’s opposition papers to (a) Loria’s
                Motion to Transfer Venue and (b) Loria’s Motion for Temporary Restraints and a
                Preliminary Injunction and (c) Stanise’s Cross-Motion for Temporary Restraints and
                a Preliminary Order by May 26, 2020;
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       3) Stanise shall file his reply papers, if any, to Loria’s opposition papers to (c) Stanise’s
          Cross-Motion for Temporary Restraints and a Preliminary Order by June 2, 2020;

       4) The Parties are amenable to oral argument being held thereafter at a time mutually
          convenient for the Court and the Parties.

         With respect to conferencing the case, we would submit that a conference would be most
appropriate after we have had to opportunity to gather the facts to respond to Defendants’
untruthful allegations and have submitted our opposition to this Court. In any event, Mr.
Brickman is unavailable this Friday May 8, 2020 for the entirety of the day and we would ask
that the Court propose an alternative date on or after May 19, 2020, or as the Court otherwise
sees fit. We thank you for your attention to this matter.


                                                      Respectfully submitted,

                                                      s/ Jason A. Stewart_______
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